              Case 4:04-cr-40043-SMY    UNITEDSTATES
                                             Document    DISTRICT
                                                      1021
                                                       #2954
                                                                       COURT
                                                             Filed 08/04/06 Page 1 of 6                                          Page ID

                                                 Southern District of Illinois
          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                 ERIC J. MASTERSON                                       Case Number:
                                                                         USM Number:
                                                                         Ronald E. Jenkins
                                                                         Defendant's Attorney
THE DEFENDANT:
rXI pleaded guilty to count(s)
-                                    1 of the Second Superseding Indictment

- pleaded no10 contendere to count(s)
    which was accepted by the court.                                                                        AUG    - 4 2006
- was found guilty on count(s)                                                                       CLERK, U.S. D I S W C T r   m   y

    after a plea of not guilty.                                                                     OUTH HER^ D~STRICTOF ILLINOIS
                                                                                                           BENTON OFFICE
The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended                Count
18:2,21:841(a)(l) & 841            Conspiracy to Manufacture, Possess with Intent to Distribute and         June 30,2004                   1
(b)(l)(A)(viii) and                Distribute More Than 500 Grams of Methamphetamine
21:846



       The defendant is sentenced as provided in pages 2 through                6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
-   The defendant has been found not guilty on count(s)

- Count(s)                                               - is     1 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attomey for this district within 30 da s of any change of name, resjdence,
or mailing address untll all fmes, restitution, costs, and special assessmenls im osed by this judgment are fufiypaid. If ordered to pay reshtuhon,
                                                                                R
the defendant must notify the court and United States attorney of material c anges m economc circumstances.

                                                                         July 28.2006
                                                                         Date of Imposition of Judgment


                                                                                 @[&
                                                                          Signature of Judge




                                                                          G. Patrick Murphy, Chief Judge
                                                                          Name and Title of Judge
            Case 4:04-cr-40043-SMY                          Document 1021 Filed 08/04/06                      Page 2 of 6       Page ID
                                                                      #2955
A 0 245B                     -
           (Rev. 06/05), J u d m e n t In Criminal Case
           Sheet 2 - lrnpr~sonment
                                                                                                             Judgment-   Page   2   of    6
DEFENDANT:                       ERIC J. MASTERSON
CASE NUMBER:                     04-40043-030-JLF



                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
240 months. The Court awards the defendant 25 months for time served on related state cases. It is the Court's intention that the
defendant serve 215 months. 'The sentence im osed by this judgment shall run concurrently to the undischarged terms of
im risonment in White County, Illinois (00-c#-109, 00-CF-131,04-CFZ7 and
in  I~-cF-~~zin Jefferson County, Illinoe.

     U
     -     The court makes the following recommendations to the Bureau of Prisons:




     -
     [XI   The defendant is remanded to the custody of the United States Marshal.

     -     The defendant shall surrender to the United States Marshal for this district:

           - at                                           - a.m.          p.m.     on

           -     as notified by the United States Marshal.

     -     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           - before 2 p.m. on

           - as notified by the United States Marshal.

           - as notified by the Probation or Pretrial Services Office.



                                                                         RETURN
I have executed this judgment as follows:




           Defendant delivered                                                                  to

a                                                           , with a certified copy of this judgment.


                                                                                                           UNITED STATES MARSHAL


                                                                                 BY
                                                                                                        DEPUTY UNITED STATES MARSHAL
               Case 4:04-cr-40043-SMY                    Document 1021 Filed 08/04/06                     Page 3 of 6          Page ID
                                                                   #2956

A 0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page       3     of         6
DEFENDANT:                     ERIC J. MASTERSON
CASE NUMBER:                   04-40043-030-JLF
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :


                                            10 years


     The defendant must report to the probation office in the district to which the defendant is released w i t h 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic dmg tests
thereafter, as determined by the court, not to exceed 52 tests in a one year period.

- The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
EJ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
-
W The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
-
- The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)

- The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o i ~ a ~ m e nsheet
                         t s of this judgment.
     The defendant must comply withthe standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                                    STANDARD CONDITIONS OF SUPERVISION

   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a l a f i l occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)       the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any personconvicted of a
           felony, unless granted permission to do so by the pro%ation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)       as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the: defendant's criminal
           record or personay history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
           Case 4:04-cr-40043-SMY                     Document 1021 Filed 08/04/06   Page 4 of 6     Page ID
                                                                #2957

A 0 245B   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                     Judgment-Page   4   of    6
DEFENDANT:                ERIC J. MASTERSON
CASE NUMBER:              04-40043-030-JLF

                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall pay any financial penalty that is imposed by this judgment, and that
remains unpaid at the commencement of the term of supervised release. The defendant shall
pay the fine in installments of $20.00 per month or 10% of his net monthly income,
whichever is greater.
The defendant shall provide the probation officer and the Financial Litigation Unit of the
United States Attorneys' Office with access to any requested financial information. The
defendant is advised that the probation office may share financial information with the
Financial Litigation Unit.
The defendant shall apply all monies received from income tax refunds, lottery winnings,
judgments, and/or any other anticipated or unexpected financial gains to the outstanding
court-ordered financial obligation. The defendant shall immediately notify the probation
officer of the receipt of any indicated monies.
The defendant shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, which includes urinalysis or other drug
detection measures and which may require residence andlor participation in a residential
treatment facility. Any participation will require complete abstinence from all alcoholic
beverages. The defendant shall pay for the costs associated with substance abuse counseling
andlor testing based on a co-pay sliding fee scale approved by the United States Probation
Office. Co-pay shall never exceed the total costs of counseling.
The defendant shall submit his person, residence, real property, place of business, computer,
or vehicle to a search, conducted by the United States Probation Officers at a reasonable
time and in a reasonable manner, based upon reasonable suspicion of contraband or
evidence of a violation of a condition of supervision. Failure to submit to a search may be
grounds for revocation. The defendant shall inform any other residents that the premises
may be subject to a search pursuant to this condition.
            Case 4:04-cr-40043-SMY                      Document 1021 Filed 08/04/06                   Page 5 of 6         Page ID
                                                                  #2958

A 0 245B   (Rev. 06/05) Judgment in a Criminal Case
           sheet 5 - ~ r i m z a Monetary
                                 l        Penalties
                                                                                                   Judgment - Page     5      of        6
DEFENDANT:                         EIUC J. MASTERSON
CASE NUMBER:                       04-40043-030-JLF
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                        Restitution
TOTALS             $   100.00                                                                          $ NIA



- The determination of restitution is deferred until             ,   An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

- The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayrnent, unless specified otherwise in
     the priority order or percentage payment column gelow. However, pursuant to 18 Lfs.8.5 3664{), all nonfederal v i c t m must be paid
     before the United States is p a ~ d .

Name of Pavee                                  Total Loss*                   Restitution Ordered




TOTALS


-     Restitution amount ordered pursuant to plea agreement $

-     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

-     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      -    the interest requirement is waived for the         fine          restitution.

      -    the interest requirement for the           ; fme      restitution is modified as follows:
           * Findings for the total amount of losses are required under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed
           on or after September 13, 1994, but before April 23, 1996.
            Case 4:04-cr-40043-SMY                      Document 1021 Filed 08/04/06                   Page 6 of 6         Page ID
                                                                  #2959
A 0 2458   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                       Judgment- Page       6     of        6
DEFENDANT:                  ERIC J. MASTERSON
CASE NUMBER:                04-40043-030-JLF

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    o     Lump sum payment of $                             due immediately, balance due

           -     not later than                                 7   or
           -     in accordance           g C,         1 D,          E, or          F below; or

B    o     Payment to begin immediately (may be combined with               g C,       - D, or     F below); or

C    o     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or

D    1 Payment inequal                        (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence               (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     o    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     - Special instructions regarding the payment of criminal monetary penalties:
           Payments are due immediately, through the Clerk of the Court, but ma be paid from prison earnings in compliance with
           the Inmate Financial Responsrbility Program. Any financial penalties t i a t remain un aid at the commencement of the
           term of supervised release shall be paid at the rate of $20.00 per month, or 10% of degndant's monthly net earnings,
           whichever is greater.



Unless the court has express1 ordered otherwise, if thisjudgment imposes imprisonment, ayment of criminal monetary penalties is due durin
imprisonrqe?t. All crirninaf moneta penalties, except those payments made thou& the Federal Bureau of Prisons' Inmate ~ i n a n c i i
Responsibil~tyProgram, are made to x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



-     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and correspondmg payee, if appropriate.




-     The defendant shall pay the cost of prosecution.

-     The defendant shall pay the following court cost(s):

-     The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                         1
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.
